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  8                         UNITED STATES DISTRICT COURT
  9                       SOUTHERN DISTRICT OF CALIFORNIA
 10
 11   UNITED STATES OF AMERICA,                )   Case No. 13-cr-0491-GPC
                                               )
 12                      Plaintiff,            )   ORDER
      v.                                       )
 13                                            )
      KEITH LUSK (12),                         )
 14                                            )
                         Defendant.            )
 15                                            )
 16
 17
 18         Upon the Government’s motion, and good cause appearing, IT IS HEREBY
 19   ORDERED that the above entitled Indictment charging Keith Lusk (“Defendant”) and
 20   others with one count of Conspiracy to Distribute Controlled Substances, in violation
 21   of Title 21, United States Code, Sections 841(a)(1) and 846, be dismissed as to
 22   Defendant without prejudice.
 23         It is noted that Defendant remains in custody on an alleged supervised release
 24   violation in case number 07-cr-2547-DMS.
 25   DATED: May 21, 2013
 26
                                              HON. GONZALO P. CURIEL
 27                                           United States District Judge
 28


                                                                                     13cr0491
